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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 ANTHONY PERRY,                                     )
                                                    )
                        Plaintiff pro se,           )
                                                    ) C.A. No. 17-1932 (TSC)
                         v.                         )
                                                    )
 WILBUR L. ROSS, JR., Secretary, United             )
 States Department of Commerce, et al.              )
                                                    )
                        Defendants.                 )
                                                    )



               CONSENT MOTION FOR THIRTY DAY ENLARGEMENT
                OF TIME TO RESPOND TO AMENDED COMPLAINT


       Defendants, by counsel, move for a thirty day enlargement of time to respond to the

complaint in this case. This motion is merited for the following reasons:

           1. Because of responsibilities in other matters, the extensive factual background of

               this matter, and the need to get representation authority from the Department of

               Justice for Defendants sued in their individual capacity, undersigned counsel will

               need additional time to prepare Defendants’ response to Plaintiff’s 67 page, 223

               paragraph complaint in which Plaintiff has sued 23 persons in their official and

               individual capacities.

           2. Undersigned counsel spoke to Plaintiff pro se to obtain his position on this

               motion. Plaintiff consents to Defendants’ receiving an additional thirty days to

               respond to the amended complaint.
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           3. Granting this motion would be in the interest of justice and would not prejudice

               any parties or interfere with any dates on the Court’s calendar in this matter.

       Wherefore, Defendants, by counsel, move for a thirty day enlargement of time to

February 12, 2018 to respond to the complaint in this case.


                                              Respectfully submitted,

                                              JESSIE K. LIU, D.C. BAR # 472845
                                              United States Attorney
                                              for the District of Columbia

                                              DANIEL F. VAN HORN, D.C. Bar #924092
                                              Civil Chief

                                              By: /s/ Alexander D. Shoaibi____________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
 ANTHONY PERRY,                                  )
                                                 )
                      Plaintiff,                 )
                                                 ) C.A. No. 17-1932 (TSC)
                       v.                        )
                                                 )
 WILBUR L. ROSS, JR., Secretary, United          )
 States Department of Commerce, et al.           )
                                                 )
                      Defendants.                )
                                                 )

                                          ORDER

       Upon consideration of Defendants’ consent motion for enlargement of time to respond to

the amended complaint in this case, it is hereby ordered that the motion is granted and that

Defendants’ response to the amended complaint is now due on February 12, 2018.



                                          _____________________________________
                                          The Honorable Tanya S. Chutkan
